Case 2:18-cv-14655-KM-ESK Document 68 Filed 12/15/20 Page 1 of 2 PagelD: 377

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

RICHARD M. ZELMA,
Plaintiff,
- against —

AUDINA HEARING INSTRUMENTS, INC.
and HEAR BETTER FOR LIFE a/k/a, d/b/a
HEARING BETTER FOR LIFE, LLC, and
JOHN MONACO (Individually) and SARAH
R. LOVE TRAURING (Individually) and
YISROEL (ISRAEL SRULY) MAX
(Individually) and MAXSIP TELECOM
CORP. and TELEMARKETERSJS]
CALLING FROM [855] 888-4327; 746-7748;
(201) random local spoofed non-working
numbers and Does’ (1-10 and ABC
Corporations’ (1-10); each acting
individually, in concert or as a group,

Defendants.

 

 

Civil Action No.: 2:18-cv-14655-KM-SCM

NOTICE OF WITHDRAWAL/
AMENDMENT OF SEPARATE
DEFENSES OF DEFENDANTS
MAXSIP TELECOM CORP. AND
YISROEL MAX

(Filed Electronically)

 

 

PLEASE TAKE NOTICE that the Defendants Maxip Telecom Corp.and Yisroel Max

hereby withdraw the third separate defense contained in their answer without prejudice and amend

the sixth separate defense to provide that “Plaintiff suffered no injury for which he is entitled to

compensation from Defendants Maxsip or Israel Max”.

870096

py, wud © Mower
David O. Marcus
SHAPIRO, CROLAND, REISER,
APFEL & DI IORIO, LLP
Bar No. 025991985
411 Hackensack Avenue
Hackensack, New Jersey 07601
Telephone: (201) 488-3900

 
Case 2:18-cv-14655-KM-ESK Document 68 Filed 12/15/20 Page 2 of 2 PagelD: 378

Telecopier: (201) 488-9481
Attorneys for Defendants, Israel Max
and MaxsipTelecom Corp.

Dated: December 15, 2020

870096
